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                             UNITED STATES DISTRICT COURT

                                   DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                          )
                                                  )
           v.                                     )   CRIMINAL NO. 22-00060-BAH
                                                  )
VINCENT GILLESPIE                                 )

         DEFENDANT’S SUPPLEMENTAL SENTENCING MEMORANDUM

       In his objections to the Presentence Report (PSR), Mr. Gillespie objected to the Probation

Department’s recommendation in ¶¶45 & 53 that the Court apply a six-level enhancement

pursuant to U.S.S.G. §3A1.2(b) to reflect official victim motivation. Yet in his initial Sentencing

Memorandum [D.E. 80], Mr. Gillespie indicated to the Court that he was withdrawing that

objection to the PSR. Id. at 3 fn.1. A closer reading of the interplay of U.S.S.G. §3A1.2 and

§2A2.4, however, reveals that the Sentencing Memorandum’s abandonment of the objection to

the enhancement was wrong because the enhancement cannot apply to Mr. Gillespie.

       The commentary to U.S.S.G. §3A1.2 specifically directs that an enhancement for official

victim is precluded where a defendant is sentenced pursuant to U.S.S.G. §2A2.4:

       Nonapplicability in Case of Incorporation of Factor in Chapter Two.—Do
       not apply this adjustment if the offense guideline specifically incorporates this
       factor. The only offense guideline in Chapter Two that specifically incorporates
       this factor is §2A2.4 (Obstructing or Impeding Officers).

U.S.S.G. §3A1.3, comment. (n.2). There is no dispute here that U.S.S.G. §2A2.4, which applies

to obstructing and impeding officers, is the starting point for calculating Mr. Gillespie’s

guideline sentencing range given his convictions on the 18 U.S.C. §111(a) and §231(a)(3)

counts. See PSR ¶¶34-35. Indeed, for the reasons set forth in Mr. Gillespie’s objections and

sentencing memoranda, §2A2.4 is likewise the endpoint for calculating his guideline sentencing

range. As the commentary makes patent, the enhancement for official victim motivation is
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therefore precluded in Mr. Gillespie’s case.

       For this reason, Mr. Gillespie renews his objection to applying the official victim

enhancement to increase his guideline sentencing range. Properly calculated without the six-

point enhancement, the guideline sentencing range is 12-18 months imprisonment. A sentence

within that range is sufficient, but not greater than necessary, to achieve 18 U.S.C. § 3553(a)’s

goals. The Court should sentence Mr. Gillespie accordingly.



                                               VINCENT GILLESPIE
                                               By his attorneys,

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                                 CERTIFICATE OF SERVICE

        I, Timothy G. Watkins, hereby certify that this document filed through the ECF system
will be sent electronically to the registered participants as identified on the Notice of Electronic
Filing (NEF) on April 12, 2023.

                                               /s/ Timothy G. Watkins
                                               Timothy G. Watkins




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